Dear Representative Wilkerson:
You have requested an opinion of the Attorney General, on behalf of the Claiborne Parish Police Jury (Police Jury). You ask whether it is legally permissible for the Police Jury and the Claiborne Parish Sheriff's Department to send representatives to Washington, D.C. to meet with the Louisiana Congressional Delegation (Delegation). These local representatives will attend three meetings with the Delegation for the purpose of making an appeal for assistance to protect local sales taxes on internet and catalog sales.
A review of the constitutional and statutory provisions relating to the expenditure of public funds for this and/or related activities reveals no prohibition for the travel in question.
Article XI, Section 4 and R.S. 18:1465, which generally prohibit the use of public funds to urge any elector to vote for or against any candidate or proposition, and/or to be appropriated to a candidate or political organization, do not appear to be applicable to your question.
Likewise, R.S. 24:50, et seq., relating to the registration of lobbyists, is not applicable to this issue. A related statute, R.S. 43:31(D), prohibits the state and its agencies from expending funds to lobby for or against any proposition or matter having the effect of law being considered by the State Legislature or any local governing authority.
In order for our democracy to function efficiently and effectively there must be a free flow of information at all levels of government. It is impossible for federal, state and local officials to be responsive to the needs of their constituents by working in a vacuum. Thus, it is not uncommon for public officials to exchange ideas and information through various forms of communication, including written correspondence, telephone conference calls, E-mail and personal audience. Such discourse is essential.
The selection of the method used obviously must lie within the sound discretion of those communicating. In the case at hand, the Claiborne Parish Police Jury and Sheriff have apparently determined that it is necessary to meet personally with our Congressional Delegation in Washington, D.C. We can find no legal prohibition for  this meeting.
Travel expenses related to the proposed trip should, of course, be reasonable and in conformity with guidelines established by the Police Jury. Questions relating to such expenses, and the necessary documentation thereof, should be directed to the Louisiana Legislative Auditor at (225)339-3800.
Trusting this adequately responds to your inquiry, I am
Very truly yours,
                                RICHARD P. IEYOUB ATTORNEY GENERAL
                                BY: _____________________________ ROBERT E. HARROUN, III Assistant Attorney General
RPI/REH, III/dra
cc: Dr. Dan G. Kyle, CPA Legislative Auditor STATE OF LOUISIANA P.O. Box 94397 Baton Rouge, LA 70804
Date Received:
Date Released:
Robert E. Harroun, III Assistant Attorney General